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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

HANGZHOU CHIC INTELLIGENT               )
TECHNOLOGY CO. and UNICORN              )
GLOBAL, INC.,                           )
                                        )
                  Plaintiffs,           )   Case No. 20-cv-4806
                                        )
      v.                                )   Judge Steven C. Seeger
                                        )   Magistrate Judge Jeffrey Cole
CHEAPAANZEE, et al.,                    )
                                        )   FILED UNDER SEAL
                  Defendants.           )
                                        )

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ EX PARTE MOTION FOR
 ENTRY OF A TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY
INJUNCTION, A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY




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       Plaintiffs Hangzhou Chic Intelligent Technology Co. (“Chic”) and Unicorn Global, Inc.

(“Unicorn”) submit this Memorandum of Law in support of its ex parte Motion for entry of a

Temporary Restraining Order (“TRO”), including a temporary injunction, a temporary asset

restraint, and expedited discovery against Defendants.

                               PRELIMINARY STATEMENT

       Plaintiffs are playing a virtual game of Whack-A-Mole. But unlike the arcade version of

Whack-A-Mole where the player possesses one hammer to use against ten known moles for only

30 seconds, this virtual version includes anonymous moles or Defendants who pop up with one

identity to sell infringing products, and then after being whacked, will reemerge with a different

identity and continue their infringement until another whack. The Plaintiffs cannot possibly

possess enough hammers to stop this unfortunate cycle and ask this Court to turn off this game.

       Plaintiff Chic owns U.S. Design Patent Nos. D737,723 (“the ’D723 patent”), D738,256

(“the ’D256 patent”), D785,112 (“the ’D112 patent”), and D784,195 (“the ’D195 patent”)

(collectively, “Patents-in-Suit” or “Plaintiffs’ Designs”). Chic utilizes the Patents-in-Suit when

designing, manufacturing, and selling its hoverboards under the SISIGAD and FLYING-ANT

name brands (“Plaintiffs’ Products”). Plaintiff Unicorn is the exclusive U.S. distributor of

Plaintiffs’ Products. Defendants are foreign-based entities who operate anonymous online e-

commerce stores (“Defendant Internet Stores”) and sell unauthorized products that infringe the

Patents-in-Suit (“Infringing Products”).

       This Court should grant an ex parte TRO for several reasons. First, the Patents-in-Suit are

presumed valid under 35 U.S.C. § 282, and as explained below, Plaintiffs have submitted

substantial evidence to establish a prima facie case of design patent infringement and thus have

demonstrated the requisite likelihood of success on the merits. Second, Defendants’ infringing

conduct is causing the Plaintiffs to suffer irreparable harm. Such conduct is eroding Plaintiffs’


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control of their patents rights, damaging their reputation and goodwill, diminishing their market

share, and causing customer confusion. Simply put, monetary damages will be inadequate to

compensate Plaintiffs for Defendants’ infringement.

       Third, the equities weigh in favor of Plaintiffs. Plaintiffs have invested millions of dollars

to develop novel designs and secure design patent protection. Yet the Defendants are unlawfully

taking advantage of that investment to Plaintiffs’ detriment. By comparison, Defendants are

entitled to little consideration as willful infringers and whatever harm may befall upon them under

an ex parte TRO would be the result of their own infringement. And an ex parte TRO will serve

the public by furthering the long-held public policy of favoring the protection of patent rights.

Plus, an ex parte TRO will provide incentive for other inventors and innovators to continue

developing new products without fear of the inability to enforce their patents.

       Fourth, the requested scope of ex parte relief is appropriate. Because Defendants operate

anonymously in order to evade enforcement actions and will often transfer assets outside of this

Court’s reach, an order restraining Defendants’ assets is warranted. Unless Defendants’ assets are

frozen, Plaintiffs will be unable to properly account for or receive a monetary award. Additionally,

to further Plaintiffs’ request for relief of a proper accounting, Plaintiffs should be awarded

expedited discovery in order to ascertain Defendants’ banking and payment systems. Absent

expedited discovery, freezing Defendants’ assets will do little to make Plaintiffs whole when

enforcing their lawfully issued patents.

       Accordingly, in order to turn off this virtual game of Whack-A-Mole, this Court should

issue an ex parte TRO to enjoin Defendants from infringing the Patents-in-Suit and grant the

additionally requested equitable relief.




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                                    STATEMENT OF FACTS

I.      PLAINTIFFS’        BUSINESS,       HOVERBOARD            PRODUCTS,         AND     DESIGN
        PATENTS

        Chic is a high-tech company that manufactures and licenses hoverboard products for sale

in the United States. Chic is supported by Zhejiang University Ministry of Education Computer

Aided Product Innovation Design Engineering Center, the Zhejiang University International

Design, and Zhejiang Key Laboratory of Service Robot. See Declaration of Jaiwei Ying, dated

August 14, 2020 (“Ying Declaration”) ¶ 2. Chic is located in the Liangzhu University Science and

Technology Park, Yuhang District, Hangzhou, China. See id. ¶ 3. Chic is ranked as a Top 100

Most Technologically Advanced Enterprises and a Top Ten Industrial Design Center in Zhejiang

Province. See id. Chic-designed hoverboard products are highly successful within the United

States, and have been featured in Justin Bieber music videos and in NBA contests. See id. ¶ 4.

        Chic has invested heavily in its hoverboard technology. Specifically, Chic has spent

several million dollars in research and development of hoverboard products.             See id. ¶ 4.

Intellectual property protection is vital to the success of Chic’s business operations. Chic has been

assigned approximately 400 granted patents for its hoverboard technologies and designs in various

countries such as China, the United States, the European Union, and Canada. See id. ¶ 5. The

Patents-in-Suit claim and illustrate ornamental features of hoverboards. See id. ¶ 6.

        The ’D723 patent and the ’D256 patent are entitled “Self-Balancing Vehicle,” and were

issued on September 1, 2015 and September 8, 2015, respectively. See id. ¶¶ 7-8. The ’D195

patent and the ’D112 patent are entitled “Human-Machine Interaction Vehicle,” and were issued

on April 18, 2017 and April 25, 2017, respectively. See id. ¶¶ 9-10. Jiawei Ying is the named

inventor of the Patents-in-Suit, and he has assigned all rights, title, and interest to the patents to

Chic. See id. ¶ 6. Chic has licensed certain rights to the Patents-in-Suit to Unicorn, including the




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right to enforce. See id. ¶ 7-10; see also Declaration of Jinyuan Lei, dated August 14, 2020, (“Lei

Declaration”), ¶ 5. Plaintiffs utilize the Patents-in-Suit when designing, manufacturing, and selling

Plaintiffs’ Products. See Am. Compl. ¶¶ 5, 21.

       The Patents-in-Suit have revolutionized hoverboard ornamental design that features a

central support platform. See Ying Decl. ¶ 11. Specifically, the ’D723 patent and the ’D256 patent

have defined the fundamental ornamental configurations of the hoverboard product class. See id.

The ’D112 patent features a soft edge between the central support platform and the fenders, and

the ’D195 patent features a sharper edge. Both designs have streamline shapes that appeal to

United States customers. See id. The ’D112 patent features a soft edge between the central support

platform and the fenders, and the ’D195 patent features a sharper edge. See id.

       Chic’s investment in the Patents-in-Suit, among its other patents, have made Chic a global

leader in the hoverboard industry. Sales of Chic-designed or licensed hoverboard products have

exceeded over about 50 million dollars in the past few years. Unicorn sells, through affiliates and

licenses, various hoverboard models under the FLYING-ANT brand name, among others, which

are licensed from Chic. See Lei Decl. ¶ 4. For example, Unicorn sold at least approximately

100,000 units on Amazon.com in 2019 for an average sales price of $110.00 per unit, generating

approximately $11 million in 2019. See id. ¶ 6. Based on these figures, Plaintiffs have projected

a 20% growth per year over the next two years. See id. Also Plaintiffs’ Products have earned high

reviews and industry praise. For example, the FLYING-ANT Hoverboard, and the Hoverboard

for Kids & Adults have maintained a 4.3 out of 5 review with at least 369 reviews at the time of

this motion. See id. ¶ 4.




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       Although Plaintiffs’ Products have been successful, that success has been substantially

hindered by other unauthorized sellers who have copied Plaintiffs’ Designs, including but not

limited to the Defendants in this case.

II.    DEFENDANTS’ UNLAWFUL ACTIVITIES

       Although the Defendants lack a license to the Patents-in-Suit, see Ying Decl. ¶ 13, each

are making, using, offering for sale, selling, and/or importing into the United States for subsequent

sale or use the Infringing Products. See Lei Decl. ¶ 6-7. Defendants offer to sell and/or sell the

Infringing Products to residents of the United States, including Illinois residents, through

Defendant Internet Stores. See id. ¶ 12, Ex. 5. Although Plaintiffs sold approximately 100,00

hoverboards in 2019, infringers such as Defendants sold a far greater number of units—units that

unlawfully featured Plaintiffs’ Designs. See id. ¶ 8. For example, in the first six months of 2020,

infringers shipped more than 100,000 “hoverboard” or “self-balancing vehicle” units that feature

Plaintiffs’ Designs, severely impacting Plaintiffs’ 20% growth projections. See id. Defendants’

unlawful conduct has effectively forced the Plaintiffs to compete against its own (unauthorized)

patented designs.

       Defendants actively conceal their identities and use multiple fictitious names and addresses

to register and operate their network of Defendant Internet Stores. See id. ¶ 10. Defendants

regularly create new online marketplace accounts on various platforms (e.g., Amazon.com,

eBay.com, Walmart.com, etc.) under unknown fictitious names and addresses. See id. ¶ 11. These

tactics are commonly used by Defendants to conceal their identities and the full scope and

interworking of their operation, so as to avoid being shut down. See id.

       Despite operating under multiple fictitious names, there are similarities among the

Defendant Internet Stores. Specifically, Defendant Internet Stores maintain similar accepted

payment methods, check-out methods, metadata, illegitimate search engine optimization tactics,


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lack of contact information, identically or similarly priced items and volume sales discounts, the

same incorrect grammar and misspellings, and similar hosting services. See id. ¶ 14.

       To evade enforcement efforts Defendants will often register new online accounts under

new seller aliases once they receive notice of a lawsuit. See id. ¶ 11. Infringers such as Defendants

will also typically ship products in small quantities via international mail to minimize detection by

U.S. Customs and Border Protection. See id. ¶ 7. They further operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways in order to continue

operation in spite of enforcement efforts. See id. ¶ 15. Defendants often maintain offshore bank

accounts and regularly transfer funds from their PayPal accounts (or other financial accounts) to

off-shore bank accounts outside this Court’s jurisdiction. See id.

III.   DEFENDANTS HAVE CAUSED AND WILL CONTINUE TO                                          CAUSE
       PLAINTIFFS IRREPARABLE HARM ABSENT AN EX PARTE TRO

       Because of the unique and imminent nature of Defendants’ unlawful conduct, Plaintiffs

have suffered and will continue to suffer irreparable harm without an injunction from this Court.

Defendants’ unlawful conduct prevents Plaintiffs from exercising control of its rights to patented

designs and fully exploiting these designs and associated proprietary technologies. See Lei Decl.

¶¶ 16 and 18. Defendants’ unlawful conduct has also damaged Plaintiffs reputation and goodwill.

See id. Furthermore, Defendants’ conduct has damaged Plaintiffs’ consumer brand confidence,

which can result in a loss of future sales and market share. See id.

       Additionally, Defendants’ unlawful conduct is causing a loss of pricing power, thereby

diminishing Plaintiffs’ investment in the Patents-in-Suit by forcing Unicorn to engage in a pricing

war against infringers who are impermissibly utilizing Plaintiffs’ Designs in the Infringing

Products. See id. ¶ 17. Defendants have flooded the marketplace with inferior products that tarnish

Plaintiffs’ goodwill and causes confusion amongst consumers, damaging consumer confidence in



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Plaintiffs’ Designs. See id. Defendants’ inferior products are manufactured with faulty parts and

endanger consumer, exposing the entire hoverboard industry to the risk of collapsing due to safety

issues. See id.

       Monetary damages will not adequately compensate Plaintiffs for Defendants ongoing

infringement. See id. ¶ 16. It is difficult, if not impossible, to accurately calculate the damage

caused by Defendants’ conduct, because Plaintiffs have lost control over its rights in patented

designs, experienced a diminished reputation and goodwill, loss pricing power, diminished market

share, and Plaintiffs inability to exploit its patented designs. See id. The extent of harm to

Plaintiffs’ reputation and goodwill and possible diversion of customers because of a loss in brand

confidence is unquantifiable. See id. ¶ 17. Such loss of quality control and the damage cause to

Plaintiffs’ reputation is neither calculable nor precisely compensable.

       Plaintiffs have suffered irreparable harm and will continue to do so absent a TRO from this

Court enjoining Defendants from further unlawful conduct.

                                           ARGUMENT

       This Court is empowered to issue an ex parte TRO where immediate and irreparable injury,

loss, or damages will result to the movant before the adverse party may be heard in opposition.

See Fed. R. Civ. P. 65(b). Here Defendants’ willfully infringing conduct is causing and will

continue to cause irreparable harm to Plaintiffs and thus an ex parte TRO is warranted.

       Absent the requested TRO, Defendants will likely register new e-commerce stores under

new aliases, and move any assets to off-shore bank accounts outside the jurisdiction of this Court,

see Ying Decl. ¶ 15, trapping Plaintiffs in a virtual Whack-A-Mole. Courts have recognized that

civil actions against foreign, online infringers present special challenges that justify proceeding on

an ex parte basis. See Columbia Pictures Indus., Inc. v. Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill.

1996) (observing that “proceedings against those who deliberately traffic in infringing


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merchandise are often useless if notice is given to the infringers”). An ex parte order preserves

the status quo and prevents irreparable harm. See Granny Goose Foods, Inc., v. Brotherhood of

Teamsters, 415 U.S. 423, 439 (1974).

         An ex parte TRO is appropriate where, like the case here, the necessary subject matter and

personal jurisdiction requirements are satisfied. This Court has original subject matter jurisdiction

over the claims in this action under the Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. §§ 1338(a)-

(b), and 28 U.S.C. § 1331, and venue is proper under 28 U.S.C. § 1391. This Court may exercise

personal jurisdiction over Defendants because Defendants directly target business activities toward

consumers in the United States, including Illinois, through Defendant Internet Stores. Specifically,

Defendants are soliciting Illinois residents by operating one or more e-commerce stores through

which Illinois residents can purchase products featuring the Patents-in-Suit. See, e.g., Christian

Dior Couture, S.A. v. Lei Liu, et al., No. 15-CV-6324, 2015 U.S. Dist. LEXIS 158225, at *6 (N.D.

Ill. Nov. 17, 2015) (finding personal jurisdiction was proper over defendant offering to sell alleged

infringing product to United States residents, including Illinois, despite no actual sale); Declaration

of Arthur Tan-Chi Yuan, dated August 18, 2020 (“Yuan Decl.”) ¶¶ 2-4. And the Defendants are

committing tortious acts in Illinois, are engaging in interstate commerce, and have wrongfully

caused Plaintiffs substantial injury in this state.

I.       PLAINTIFFS HAVE SATISFIED GROUNDS FOR AN EX PARTE TRO

         To obtain a temporary restraining order Plaintiffs must demonstrate (1) a likelihood of

success on the merits; (2) that no adequate remedy at law exists; and (3) that it will suffer

irreparable harm if the injunction is not granted. See Ty, Inc. v. The Jones Group, Inc., 237 F.3d

891, 895 (7th Cir. 2001); Celsis in Vitro, Inc. v. CellzDirect, Inc., 664 F.3d 922, 926 (Fed. Cir.

2012). Once these three conditions are satisfied, this Court should then consider the harm that the

Defendants will suffer if preliminary relief is granted, balancing such harm against the irreparable


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harm the Plaintiffs will suffer if relief is denied. Ty, Inc., 237 F.3d at 895. Finally, the Court

should consider the potential effect on the public interest (non-parties) in denying or granting the

TRO. Id. Weighing all of these factors and “sitting as would a chancellor in equity,” this Court

should decide whether to grant the TRO. Id. (quoting Abbott Labs. v. Mead Johnson & Co., 971

F.2d 6, 11 (7th Cir. 1992)).

       A.      Plaintiffs Will Likely Succeed on the Merits of Design Patent Infringement

       Plaintiffs are likely to succeed on the merits of their patent infringement claim. The Patent

Act provides that “whoever without authority makes, uses, offers to sell, or sells any patented

invention, within the United States or imports into the United States any patented invention during

the term of the patent therefor, infringes the patent.” 35 U.S.C. § 271(a). To determine whether a

violation of § 271(a) has occurred, this Court should (1) “construe the asserted claim[s]” and then

(2) “determine whether the accused product [] contains each limitation of the properly construed

claims, either literally or by a substantial equivalent.” Freedman Seating Co. v. Am. Seating Co.,

420 F.3d 1350, 1356-57 (Fed. Cir. 2005). All issued U.S. patents are afforded a statutory

presumption of validity including the Patents-in-Suit. See 35. U.S.C. §§ 171, 282.

       Chic is the lawful owner of the Patents-in-Suit and Unicorn is the lawful assignee. See

Ying Decl. ¶ 7-10; Lei Decl. ¶ 3. Plaintiffs have submitted extensive evidence that Defendants

make, use, offer for sale, sell, and/or import into the United States for subsequent sale or use

products that directly and/or indirectly infringe the ornamental designs embodied in the Patents-

in-Suit. See Am. Compl. ¶ 2, Schedule A, Exhibit 1; see also Yuan Decl. ¶¶ 2-4. The evidentiary

record shows that an ordinary observer would be deceived into thinking that the Infringing

Products would the same as Plaintiffs’ Products. Ying Decl. ¶ 17 (explaining that Defendants’

unlawful conduct “will continue to cause consumer confusion, which weakens [Plaintiffs’] brand

recognition and reputation”); see also Competitive Edge, Inc. v. Staples, Inc., 763 F. Supp. 2d 997,


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1011 (N.D. Ill 2010) (citing Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 672 (Fed. Cir.

2008). Defendants possess no license to the Patents-in-Suit and are not authorized retailers of

Plaintiffs’ Products.

        Accordingly, Plaintiffs have established a prima facie case of design patent infringement

for the Patents-in-Suit, and thus have demonstrated a likelihood of success on the merits.

        B.      Plaintiffs Have No Adequate Remedy at Law to Compensate for Defendants’
                Infringing Activities, and Has Suffered and Will Continue to Suffer
                Irreparable Harm in the Absence of a TRO

        Plaintiffs have no adequate remedy at law and will continue to be irreparably harmed

absent a TRO.       Because the Plaintiffs possess valid patents and have established patent

infringement, this Court may presume irreparable harm. See Bell & Howell Doc. Mgmt Products

Co. v. Altek Systems, 132 F.3d 701, 708 (Fed. Cir. 1997) (“In matters involving patent rights,

irreparable harm has been presumed when a clear showing has been made of patent validity and

infringement.”). “Harm is irreparable if it cannot be prevented or fully rectified by the final

judgment after trial.” Park v. O-Sung & Co., No. 97-CV-0924, 1997 U.S. Dist. LEXIS 10967, at

*11-12 (N.D. Ill. July 23, 1997).

        Even beyond the presumption, Plaintiffs have presented overwhelming evidence of

irreparable harm. Plaintiffs have suffered and will continue to suffer the loss of their exclusive

patent rights, loss of market share that Plaintiffs may never be able to recover, immeasurable

damage to Plaintiffs’ goodwill and reputation as the creator and authorized provider of the

Plaintiffs’ Products. See Lei Decl. ¶¶ 16-18. It is difficult, if not impossible, to accurately calculate

damages from Plaintiffs’ loss control over its design patent rights, loss of pricing power,

diminished market share, and inability to exploit their patented designs. See id. The extent of

harm to Plaintiffs’ reputation and goodwill and possible diversion of customers due to a loss in

brand confidence is unquantifiable. See id. Such collective harms are irreparable. See Promatek


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Indus., Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (holding that damage to goodwill

was irreparable harm for which no adequate remedy at law exists); see also Railway Co. v.

Terminal Railroad Assoc. of St. Louis, 35 F.3d 1134, 1140 (7th Cir. 1994) (“[S]howing injury to

goodwill can constitute irreparable harm that is not compensable by an award of money

damages.”).

       A causal nexus exists between Defendants’ infringement and the irreparable harm Plaintiffs

are suffering. See Apple Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1364 (Fed. Cir. 2013).

Defendants’ infringing use of Plaintiffs’ Designs in the Infringing Products is a substantial, if not

the exclusive, reason for consumer demand of the Infringing Products. See, e.g., Lei Decl. ¶ 8

(explaining that within the first six months of 2020, Defendants have sold 40% more hoverboard

units than Plaintiffs sold in the entirety of 2019); see also PCT Int’l Inc. v. Holland Elecs. LLC,

No. 12-CV-01797, 2015 WL 5210628, at *23-24 (D. Ariz. Sept. 8, 2015), aff’d, 2016 WL 4373941

(Fed. Cir. Aug. 16, 2016) (“The Federal Circuit has explained that when the products at issue are

“relatively simple” with a small number of features, the causal nexus requirement is easier to

satisfy because the infringing feature has a large impact on demand for the products”).

       A monetary judgment will be difficult to collect here because Defendants are foreign

entities who hide their true identities, further justifying the requested injunctive relief. See Robert

Bosch, LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1156 (Fed. Cir. 2011) (holding that collection of

monetary damages would be difficult because defendants were foreign corporations). In similar

cases involving foreign infringers other district courts have found that money damages were

insufficient. See, e.g., Aevoe Corp. v. AE Tech Co., Ltd., No. 12-CV-0053, 2012 WL 760692, at

*5 (D. Nev. Mar. 7, 2012) (“[A] finding of irreparable harm was not clearly erroneous because it

also found that since AE Tech is a foreign corporation, money damages would be insufficient.”);




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Otter Prods. v. Anke Group Indus. Ltd., 13-CV-00029, 2013 WL 5910882, at *2 (D. Nev. Jan. 8,

2013) (“[B]ecause Anke has no presence in the United States, it may be difficult or impossible for

Otterbox to enforce a monetary judgement against Anke”); Bushnell, Inc. v. Brunton Co., 673

F. Supp. 2d 1241, 1263 (D. Kan. 2009) (granting preliminary injunction; “the prospect of

collecting money damages from a foreign defendant with few to no assets in the United States tips

in favor of a finding of irreparable harm”); Nike Inc. v. Fujian Bestwinn Industry Co., Ltd., 166

F. Supp. 3d, 1177, 1179 (D. Nev. 2016) (“[B]ecause Bestwinn has no presence in the United States,

it may be difficult or impossible for NIKE to recover a money judgement against Bestwinn.”).

       Because Plaintiffs are afforded a presumption of irreparable harm, have presented

substantial evidence of the same, and face substantial difficulties of recovering any monetary

judgment from these foreign Defendants, an ex parte TRO is appropriate. See Celsis, 664 F.3d at

930 (holding that “[p]rice erosion, loss of goodwill, damage to reputation, and loss of business

opportunities” constitute irreparable harm).

       C.      The Balance of Equities Favors Granting Plaintiffs an Ex Parte TRO

       The Plaintiffs have demonstrated (1) a prima facie case of design patent infringement, (2)

irreparable harm, and (3) a causal nexus between the Defendants’ infringement and Plaintiffs’

irreparable harm. Now this Court should weigh the equitable considerations of the parties’

competing interests. See Ty, Inc., 237 F.3d at 895; see also Abbott Labs, 971 F.2d at 6, 11. When

weighing the equities, this Court should apply “a sliding scale approach: the more likely the

plaintiff is to win, the less heavily need the balance of harms weigh in his favor; the less likely he

is to win, the more need it weigh in his favor.”           Deckers Outdoor Corp. v. P’ships &

Unincorporated Ass’n, No. 13-CV-2167, 2013 U.S. Dist. LEXIS 47248, at *22 (N.D. Ill. Mar. 27,

2013) (quoting Girl Scouts of Manitou Council, Inc. v. Girl Scouts of the United States of America

Inc., 549 F.3d 1079, 1082 (7th Cir. 2008)). Properly weighed, the equities favor entering a TRO.


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       Beginning with the Plaintiffs, the Patents-in-Suit are valid and infringed, see supra, Section

I(A), and the Plaintiffs will likely succeed on the merits. See 35. U.S.C. §§ 171, 282. Plaintiffs

also have suffered and will continue to suffer irreparable harm, see supra, Section I(B), and are

unlikely able to recover monetary damages by virtue of Defendants’ status as foreign entities. See

Otter Prods., 2013 WL 5910882, at *2 (holding that plaintiffs would suffer irreparable injury

through the loss of control of intellectual property rights, loss of consumer goodwill, and ability to

exploit trademark and design patents). Absent a TRO, Plaintiffs will be unable to justify the

millions of dollars invested to develop the Patents-in-Suit, and will continued to experience the

Defendants taking advantage of such investments to Plaintiffs’ detriment. Therefore, before even

assessing the Defendants’ equities, if there are any, the sliding scale favors Plaintiffs.

       But the Defendants possess scant equity in their favor because as willful infringers, this

Court should afford little equitable consideration due to any harm caused by a TRO. Such harm

would be self-inflicted. Defendants willfully chose to walk an infringing path and courts have

refused to assign “harm” to defendants who assume such a risk. See Celsis, 664 F.3d at 931 (“[T]he

preliminary record suggests that [the defendant’s] losses were the result of its own calculated risk

in selling a product with knowledge of [the plaintiff’s] patent.”).

       Accordingly, the equities heavily favor Plaintiffs.

       D.      An Ex Parte TRO Will Serve Public Interest

       This Court should also consider the public interest, which when considered here, the public

interest will be served by an ex parte TRO. See Apple Inc. v. Samsung Elecs. Co., 809 F.3d 633

(Fed. Cir. 2015). Public policy favors protection of rights secured by valid patents. See Cobraco

Manufacturing Co. v. Valley View Specialties Co., No. 90-CV-0284, 1990 U.S. Dist. LEXIS

10958, at *8 (N.D. Ill. Jan. 19, 1990). “[T]he public interest nearly always weighs in favor of




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protecting property rights in the absence of countervailing factors, especially when the patentee

practices his invention.” Apple Inc., 809 F. 3d at 647.

       Issuing an ex parte TRO will provide incentives for inventors and innovators to continue

to develop new products and patenting inventions without fear of the inability to enforce the

patents and stop infringers. Additionally, the public will not be harmed, as there are other

hoverboard products on the market that do not infringe on the Patents-in-Suit, e.g., Plaintiffs’

Products. See Nat’l Presto Indus. Inc. v. Dazey Corp., 18 U.S.P.Q.2d 1113, 1121 (N.D. Ill. 1990)

(ruling that if an injunction makes the defendant’s products unavailable, the public has other

products to purchase, including the plaintiff’s products); see also Apple Inc., 809 F.3d at 647 (“This

is not a case where the public would be deprived of Samsung’s products. Apple does not seek to

enjoin the sale of lifesaving drugs, but to prevent Samsung from profiting from the unauthorized

use of infringing features in its cellphones and tablets.”).

       Accordingly, the public interest favors granting an ex parte TRO.

II.    THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       The Patent Act authorizes courts to issue injunctive relief “in accordance with the

principles of equity to prevent the violation of any right secured by patent, on such terms as the

court deems reasonable.” 35 U.S.C. § 283. This Court has the power to not only stop the foreign

Defendants’ infringing activities, but also award additional reasonable relief to ensure their

compliance with this Court.

       A.      An Ex Parte TRO Enjoining Defendants’ Unlawful Conduct is Appropriate

       When considering the current global economy where infringers can operate anonymously

over the internet, Plaintiffs’ request for an ex parte TRO is appropriate. Plaintiffs have submitted

substantial evidence that Defendants are making, using, offering for sale, selling, and importing

Infringing Products into the United States. See Am. Compl. ¶ 2, Schedule A, Exhibit 1. Thus,


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enjoining Defendants from further unlawful conduct is warranted. Such relief is necessary to stop

the ongoing harm to Plaintiffs’ control over their rights to Plaintiffs’ Designs, its reputation and

goodwill, and the harm to unknowing consumers who purchase the Infringing Products—ones that

fail to meet the quality standards associated with Plaintiffs’ Products. An ex parte TRO is

warranted because Plaintiffs are unaware of the true identities or locations of the Defendants, as

well as other Defendant Internet Stores selling Infringing Products. Courts have repeatedly

authorized immediate injunctive relief in similar cases involving the sale of infringing products.

See, e.g., Tuf-Tite, Inc. v. Fed. Package Networks, Inc., No. 14-CV-2060, 2014 U.S. Dist. LEXIS

163352, at *29 (N.D. Ill. 2014); Scholle Corp. v. Rapak LLC, 35 F. Supp. 3d 1005, 1009 (N.D. Ill.

2014); Nike, Inc., 166 F. Supp. 3d at 1178-79.

       B.      Restraining Defendants’ Assets to Prevent Fraudulent Transfer of Assets is
               Appropriate

       This Court has the inherent equitable authority to issue prejudgment asset restraints. See

Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707, 709 (5th Cir. 2007). Here, an ex

parte restraint of Defendants’ assets is needed to ensure an equitable accounting of Defendants’

profits and sales of Infringing Products. As stated previously, Defendants use anonymous seller

aliases to evade detection and transfer assets to financial institutions outside of this Court’s

jurisdiction upon notice of a lawsuit. See Lei Decl. ¶ 11. And Defendants will hold most of their

assets outside of the United States making it easy to hide or dispose of assets. An ex parte restraint

should account for these circumstances and ensure Defendants’ compliance.

       Plaintiffs are also entitled to recover “the extent of [Defendants’] total profit.” See 35

U.S.C. § 289. In order to ascertain such profits Plaintiffs seek an accounting and payment from

Defendants of all profits realized by Defendants from Defendants’ unlawful conduct. See Am.

Compl. ¶ 17. This Court has awarded that same relief and froze assets to preserve the potential



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profits. See Lorillard Tobacco Co v. Montrose Wholesale Candies, No. 03-CV-4844, 2005 WL

3115892, at *13 (N.D. Ill. Nov. 8, 2005) (holding that because plaintiffs requested relief was

equitable—disgorgement of profits—the court froze defendant’s assets).

       Unless Defendants’ assets are frozen, Defendants will likely hide or move their ill-gotten

gains to offshore bank accounts. Accordingly, a reasonable asset restraint to facilitate a proper

accounting and monetary award from Defendants is warranted.

       C.      Plaintiffs are Entitled to Expedited Discovery

       Expedited discovery is necessary to discover Defendants’ banking and payment system

accounts. Defendants may be using third-party payment processors such as PayPal to maintain

anonymity by interposing a third-party between the unknowing consumer and Defendants. Courts

have broad power to permit discovery in order to reveal the identification of unknown defendants.

See Fed. R. Civ. P. 26(b)(2) and 65(d)(2)(C); see also Vance v. Rumsfeld, No. 06-CV-06964, 2007

WL 4557812, at *6 (N.D. Ill Dec. 21, 2007) (“[F]ederal courts have the power to order, at their

discretion, the discovery of facts necessary to ascertain their competency to entertain the merits.”).

The expedited discovery requested here is limited to include only what is essential to prevent

further irreparable harm. Discovery of these financial accounts is necessary to both freeze the

accounts and to ensure compliance with this Court. But without the requested expedited discovery,

an asset restraint and seizure will have little effect. Accordingly, expedited discovery is warranted.

III.   A MINIMAL BOND SHOULD SECURE THE INJUNCTIVE RELIEF

       A minimal bond of no more than ten thousand dollars ($10,000) is sufficient to support the

issuance of an ex parte TRO. Requiring a security upon issuance of a TRO is within the sound

discretion of this Court. See Fed. R. Civ. P. 65(c); see also Rathmann Grp. v. Tanenbaum, 889

F.2d 787, 789 (8th Cir. 1989). Plaintiffs have submitted substantial evidence demonstrating

Defendants’ blatant infringement and thus a minimal bond is sufficient. See, e.g., Deckers Outdoor


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Corporation v. The Partnerships, et al., No. 15-CV-3249 (N.D. Ill. April 4, 2015) (unpublished)

(establishing $10,000 bond for a TRO enjoining foreign infringers).

                                        CONCLUSION

       The Plaintiffs have provided substantial evidence to demonstrate the necessary

requirements for this Court to grant the requested ex parte TRO. Absent such relief Defendants

will continue infringing the Patents-in-Suit and causing irreparable harm to Plaintiffs, in

contravention of the public’s interest in enforcing valid design patents. Accordingly, this Court

should enter an ex parte TRO and shut off the Defendants’ virtual game of Whack-A-Mole.


Date: August 18, 2020                       Respectfully Submitted,

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